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                       IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

              Plaintiff,

vs                                             Cause No. 05-CR-1849-JH

GREG HILL,

              Defendant.

                               ENTRY OF APPEARANCE

              Billy R. Blackburn, Attorney at Law, hereby enters his appearance for and

on behalf of the above-referenced Defendant Greg Hill in the above-entitled and

numbered cause.

                                        Respectfully submitted,

                                        Electronically filed 8/8/07
                                        BILLY R. BLACKBURN
                                        Attorney for Defendant
                                        1011 Lomas Blvd. NW
                                        Albuquerque, NM 87102
                                        (505) 242-1600



     I hereby certify that a true and accurate copy of the foregoing was emailed by
CM/ECF to AUSA James Braun this 8th day of August, 2007.

Electronically filed 8/8/07
Billy R. Blackburn
